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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK
                                 BUFFALO DIVISION

Amanda Perry,                                 )
                                              )
         Plaintiff,                           )
                                              )
         v.                                   )       No.   18 C 0566
                                              )
JTM Capital Management, LLC, a                )
Delaware limited liability company,           )
                                              )
         Defendant.                           )

                            MOTION FOR LEAVE OF COURT
                        TO WITHDRAW AS PLAITNIFF’S COUNSEL

         Plaintiff’s Counsel, Angie K. Robertson and Carissa K. Rasch, hereby request,

that this Court allow them leave to withdraw their appearances as counsel for Plaintiff.

In support of this Motion, Plaintiff’s counsel state:

         1.      Plaintiff’s Complaint was originally filed on October 20, 2017 in the

Northern District of Illinois against JTM Capital Management (“JTM”) in a matter styled

Amanda Perry v. JTM Capital Management, Case No. 1:17-cv-07601 (N.D. Ill)(Dkt. 1).

         2.      Lead counsel David J. Philipps, alongside Mary E. Philipps, Angie K.

Robertson, and Carissa K. Rasch, all of Philipps & Philipps, Ltd., each appeared on

behalf of Plaintiff (Dkt. 3, 4, 5, and 17).

         3.      Defendant JTM moved to dismiss Ms. Perry’s lawsuit for lack of

jurisdiction, alleging that it does not collect debts in Illinois, nor does it have any other

contacts with Illinois sufficient to establish jurisdiction here1 (Dkt. 8).

         4.      After the motion was fully briefed, on April 5, 2018, the District Court

Judge granted Defendant JTM’s motion on jurisdictional grounds, but made no ruling as

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    Defendant also moved to dismiss for failure to state a claim.

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to Defendant’s motion to dismiss for failure to state a claim, see, Perry v. JTM, 2018

U.S. Dist. LEXIS 58035, [*8] at fn. 3 (N.D. Ill., 2018). Upon reconsideration, the District

Court Judge transferred this case to the Western District of New York (Dkt. 22, 23).

       5.     David J. Philipps, lead counsel in the initial lawsuit, and Mary E. Philipps,

who are both admitted to practice in the Western District of New York, are continuing to

represent Ms. Perry in her lawsuit. Moreover, Plaintiff’s counsel plans to obtain local

counsel in this matter, who will file an appearance in this matter.

       6.     Attorneys Angie K. Robertson and Carissa C. Rasch are not admitted to

practice in the Western District of New York, and are not planning on applying for pro

hac vice admission, and thus, respectfully request that this Court allow them to withdraw

as counsel for Plaintiff, Amanda Perry.

       WHEREFORE, Angie K. Robertson and Carissa K. Rasch, respectfully request

that this Court allow them to withdraw as counsel for Plaintiff, Amanda Perry.


                                                     Amanda Perry,

                                                     /s/_David J. Philipps________
                                                     One of Plaintiff’s Attorneys

Dated: May 31, 2018

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                              CERTIFICATE OF SERVICE

         I hereby certify that on May 31, 2018, a copy of the foregoing Motion to
Withdraw was filed electronically. Notice of this filing will be sent to the following
parties by operation of the Court’s electronic filing system. Parties may access this
filing through the Court’s system.

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